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                            EXHIBIT
                              17




                     EXHIBIT 13
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Message
                                                                                                                           •00


From:          Jeff Hoops [/0,----EXCHANGELABS/OU,----EXCHANGE ADMINISTRATIVE GROUP
               (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=C2242A9B39D647FE8FA14C1C3CLIDEE79.-JEFF HOOPS]
Sent:          1/27/2019 12:48:32 PM
To:          Jeffery Hoops [Jeffery.Hoops@blackjewel.us]; Jeremy Hoops [Jeremy.Hoops@blackjewel.us]; hoops92.7Pgmall.com;
             Trish Hoops [trishhoops@aol.com]
Subject:     Fwd: Triple H Executive Surnrnary,pdf
Attachments: image001.png; ATT00001.htrn; image002.jpg; ATT00002.htm; image003.png; ATT00003.htm; image004.jpg;
             ATT00004.htm; Clearwater Executive Summary.docx; ATT00005.htm; Clearwater --Consolidated 2018,11.30.xlsx;
             ATT00006.htm


FYI below is a nice summary of our businesses outside of coal. In addition to this we own 45% of Aquatic Resources a
water lab in Lexington that generates about S2mm per year in profits plus 30% of KEWA one of the largest bonding
companies in the country.

Also, own 100% of Lexington Coal now and 37.5% of Blackjewel.

CI is putting together all of our landholdings which exceed 100,000 acres across the country and royalties worth several
hundred million. I hope by the end of this year to have a nice package together that shows everything we own as it is
vast company now. Love you guys....Dad

Jeff Hoops
304-541-2059


Begin forwarded message:

From: <brent.walls@walls-cpa.com>
Date: January 27, 2019 at 11:49:05 AM EST
To: "'Jeff Hoops"' <Jeff.Hoopsebiackiewei.us>
Subject: FW: Triple H Executive Summary.pdf

Jeff,

Are you ok with sending the attached to Dave in response to his request below? I would convert to PDF prior to sending
to him.

Thank you,

Beat F. Wails, CPA Managing Pailner

Walls & Associates, PI.LC
10:51 Main Street, Suite 100
Milton, WV 25541

T 304-390-5971 ext *
M.304-972-2650
F 304-390-6006




                                                                                                      DEBTORSUB_170592
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